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8                  IN THE UNITED STATES DISTRICT COURT FOR THE
9                        EASTERN DISTRICT OF CALIFORNIA
10
                                      )   No. 2:10-CR-255 GEB
11   UNITED STATES OF AMERICA,        )
                                      )   STIPULATION AND ORDER CONTINUING
12                Plaintiff,          )   HEARING ON DEFENDANT KIEDOCK
                                      )   KIM’S MOTION TO DISMISS CERTAIN
13        v.                          )   COUNTS OF THE INDICTMENT,
                                      )   AMENDING THE BRIEFING SCHEDULE,
14   FRENCH GULCH NEVADA MINING       )   AND EXCLUDING TIME UNDER THE
     CORPORATION, et al.,             )   SPEEDY TRIAL ACT
15                                    )
                  Defendants.         )
16                                    )
                                      )
17
18        It is hereby stipulated by and between plaintiff United
19   States of America, on the one hand, and defendant Kiedock Kim, on
20   the other hand, through their respective undersigned counsel
21   that:     (1) the presently set January 25, 2013, hearing on Kim’s
22   motion to dismiss certain counts of the Indictment shall be
23   continued to April 5, 2013, at 9:00 a.m.; (2) the United States’
24   response to Kim’s motion shall be filed by March 15, 2013; and
25   (3) Kim’s reply, if any, shall be filed by March 27, 2013.              This
26   continuance is requested to provide the parties time to attempt
27   to negotiate a pretrial resolution of the case and, in the event
28   the case is not resolved, provide the United States additional

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1    time to respond to Kim’s dismissal motion.           The parties have made
2    offers and counteroffers to resolve the case and, while the
3    parties are moving closer to resolution of the case, additional
4    time is need to more fully explore a settlement resolution as
5    there are sentencing guidelines issues that remain unresolved.
6    The parties further stipulate and agree that computation of time
7    within which the trial of this matter must be commenced shall
8    continue to be excluded under 18 U.S.C. § 3161(h)(1)(D) and Local
9    Code E due to Kim’s pending motion to dismiss.
10
11   DATED:    January 4, 2013
                                         /s/ Malcolm S. Segal
12
                                         ______________________________
13                                       MALCOLM S. SEGAL
                                         Attorney for Defendant
14                                       Kiedock Kim
15
     Dated:    January 4, 2013           BENJAMIN B. WAGNER
16                                       UNITED STATES ATTORNEY
17                                       /s/ Samuel Wong
                                   By:   _______________________
18                                       SAMUEL WONG
                                         Assistant U.S. Attorney
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1                                        ORDER
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3         The Court having received, read, and considered the
4    stipulation of the parties, and good cause appearing therefrom,
5    adopts the stipulation of the parties in its entirety as its
6    order.    It is ordered that:      (1) the presently set January 25,
7    2013, hearing on Kim’s motion to dismiss certain counts of the
8    Indictment shall be continued to April 5, 2013, at 9:00 a.m.; (2)
9    the United States’ response to Kim’s motion shall be filed by
10   March 15, 2013; and (3) Kim’s reply, if any, shall be filed by
11   March 27, 2013, 2013.
12        It is further ordered that computation of time within which
13   the trial of this matter must be commenced shall continue to be
14   excluded under 18 U.S.C. § 3161(h)(1)(D) and Local Code E due to
15   Kim’s pending motion to dismiss through the conclusion of the
16   hearing on, or other prompt disposition of, such motion.
17   Dated:    January 9, 2013
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19                                    GARLAND E. BURRELL, JR.
20                                    Senior United States District Judge

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